
310 S.E.2d 353 (1983)
309 N.C. 823
Betty Carol SHARPE
v.
NATIONWIDE MUTUAL FIRE INSURANCE COMPANY, a corporation, member of the Nationwide Group of Insurance Companies.
No. 365P83.
Supreme Court of North Carolina.
December 6, 1983.
W.P. Burkhimer, Lenoir, for the plaintiff.
Todd, Vanderbloemen &amp; Repess, Lenoir, for the defendant.
Plaintiff's petition for writ of certiorari to review the decision of the North Carolina Court of Appeals, 62 N.C.App. 564, 302 S.E.2d 893. Denied.
